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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Case No. 1:17-cr-174-01
Vv.
PLEA AGREEMENT

ANTHONY LAMAR BANKSTON,

New eae Nong Ngee Sgr” eager Negra”

Defendant.

Pursuant to Rule 11(c)(1)(A) and (B) of the Federal Rules of Criminal Procedure,
the United States of America, by its attorneys, Christopher C. Myers, United States
Attorney for the District of North Dakota, and Rick L. Volk, Assistant United States
Attorney, the defendant, Anthony Lamar Bankston, a/k/a “Tone,” and defendant’s
attorney, Luke T. Heck, hereby agree to the following:

1. The defendant acknowledges that the Indictment charges the Defendant

with the following offenses:

Count One: Conspiracy to Distribute and Possess with Intent to Distribute
Oxycodone, in violation of Title 21, United States Code, Section 846; and,

Count Two: Possession with Intent to Distribute Oxycodone, in violation of Title

21, United States Code, Sections 841(a)(1) and BAN(\ANC), and Title 18, United

States Code, Section 2.

2. The defendant has read the charges against defendant in the Indictment, and
defendant’s attorney has fully explained the charges contained in the Indictment to

defendant. The defendant fully understands the nature and elements of the crimes with

which defendant has been charged in the Indictment.

 
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3. The defendant and the attorney for the defendant acknowledge that the
defendant has been apprised of all plea offers made by the United States and knowingly
and intelligently accepts the terms of this Plea Agreement.

4, The defendant will voluntarily plead guilty to the charge contained within
Count One of the Indictment, that is, the charge of Conspiracy to Distribute and
Possession with Intent to Distribute Oxycodone.

5. The parties agree that this Plea Agreement shall be filed and become a part
of the Court record, and will be governed by Federal Rule of Criminal Procedure
11(c)(1)(A) and (B). The parties specifically agree that Rule 11(c)(1)(C) does not apply.
If the United States makes the non-binding recommendations that it has agreed to make,
as specified in this Plea Agreement, then the defendant acknowledges that this agreement
will have been fulfilled and that defendant will have no right to withdraw defendant’s

guilty plea if the Court does not follow those recommendations.

 
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6. The defendant will plead guilty because defendant is in fact guilty of the
charge contained in Count One of the Indictment. In pleading guilty to this charge, the
defendant acknowledges the following factual basis for the offense:

Count One:

In or about April 2017, in the District of North Dakota and elsewhere, the
Defendant Anthony Lamar Bankston, a/k/a “Tone,” knowingly and intentionally
combined, conspired, confederated, or agreed with others to distribute and possess
with intent to distribute a mixture and substance containing a detectable amount of
oxycodone, a Schedule II controlled substance.

In furtherance of this conspiracy, or to effect or accomplish the objects of it,
the Defendant Anthony Lamar Bankston, a/k/a “Tone,” committed the following
overt acts:

A. Anthony Lamar Bankston, a/k/a “Tone,” acquired oxycodone 30mg
pills from a source of supply in the State of Michigan for transport
to, and distribution in, the State of North Dakota;

B. Anthony Lamar Bankston, a/k/a “Tone,” transported the oxycodone
30mg pills to the State of North Dakota via commercial airline,

arriving in Minot, ND, on or about April 19, 2017;

 
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C. Anthony Lamar Bankston, a/k/a “Tone,” intended to distribute some
or all of the oxycodone 30mg pills in and about New Town, North
Dakota, on the Fort Berthold Indian Reservation;

D. Anthony Lamar Bankston, a/k/a “Tone,” communicated with his co-
conspirators via cellular telephone, receiving directions from his
conspirators as to whom to meet and stay with in North Dakota; and,

E. Anthony Lamar Bankston, a/k/a “Tone,” was picked up by others at
the Minot, ND, airport and began to travel to New Town, ND, with
those individuals when the vehicle was stopped for a traffic
violation. During a subsequent search of the vehicle, law
enforcement agents located approximately 377 oxycodone 30mg

pills inside Anthony Lamar Bankston’s luggage.

 
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7. The defendant understands that the count within the Indictment to which

defendant will plead guilty carries the following maximum penalties:

Count One:
Imprisonment: 20 years
Fine: $1,000,000

Supervised Release: 3 years (minimum of 3 years)
Special Assessment: $100
The defendant agrees that defendant will pay to the Clerk of United States District
Court the $100 special assessment on or before the day of sentencing.
8. The defendant understands that by pleading guilty defendant surrenders
certain rights, including the following:
(a) The right to a speedy public jury trial with all of the rights
pertaining thereto, as follows:
(i) If the trial is a jury trial, the jury would be composed of
12 laypersons selected at random. The defendant and defendant’s attorney
would have a say in who the jurors would be by removing prospective
jurors for cause, where actual bias or other disqualification is shown, or
without cause by exercising so-called peremptory challenges. The jury
would have to agree unanimously before it could return a verdict of either
guilty or not guilty. The jury would be instructed that the defendant is

presumed innocent and that it could not convict defendant unless, after

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hearing all of the evidence, it was persuaded of the defendant’s guilt
beyond a reasonable doubt.
(ii) If the trial is held by the judge without a jury, the judge would find
the facts and determine, after hearing all of the evidence, whether the judge
was persuaded of the defendant’s guilt beyond a reasonable doubt.
(iii) Ata trial, whether by a jury or a judge, the United States would be
required to present its witnesses and other evidence against the defendant.
The defendant would be able to confront those government witnesses and
defendant’s attorney would be able to cross examine them. In turn, the
defendant could present witnesses and other evidence in defendant’s own
behalf. If the witnesses for the defendant would not appear voluntarily,
defendant could require their attendance through the subpoena power of the
Court.
(iv) Ata trial the defendant would have a privilege against self-
incrimination so that defendant could decline to testify and no inference of
guilt could be drawn from defendants refusal to testify. If the defendant
desired to do so, defendant could testify in defendant’s own behalf.
(b) The right to remain silent. The judge will likely ask the defendant
questions about defendant’s criminal conduct to ensure that there is a factual basis

for defendant’s plea.

 
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9. The defendant understands that by pleading guilty defendant is giving up
all of the rights set forth in the prior paragraph and that there will be no trial. The
defendant’s attorney has explained those rights to defendant, and the consequences of
defendant’s waiver of those rights.

10. The parties acknowledge that the court shall impose a sentence sufficient to
comply with purposes set forth in the Sentencing Reform Act. In doing so, the court shall
consider factors set forth in 18 U.S.C. § 3553(a), and must consult and take into account
the United States Sentencing Commission, Guidelines Manual (Nov. 2016)(USSG).
Defendant understands that the United States Attorney’s Office will fully apprise the
District Court and the United States Probation and Pretrial Services Office of the nature,
scope, and extent of defendant’s conduct regarding the charges against defendant, and
related matters, including all matters in aggravation and mitigation relevant to the issue of
sentencing.

11. This Plea Agreement is binding only upon the United States Attorney for
the District of North Dakota. This agreement does not bind any United States Attorney
outside the District of North Dakota, nor does it bind any state or local prosecutor. They
remain free to prosecute the defendant for any offenses under their jurisdictions. This
Plea Agreement also does not bar or compromise any civil or administrative claim

pending or that may be made against the defendant.

 
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12. The defendant understands that the United States Attorney reserves the
right to notify any state or federal agency by whom the defendant is licensed, or with
whom defendant does business, of the defendant’s conviction.

13. The parties agree that they expect the following Sentencing Guidelines may
apply in this case:

USSG § 2D1.1(a)(5)&(c)(10) 20 BOL: 60 - 80 kg marijuana

(converted per App. Note 8)

14. | The United States agrees to recommend at sentencing a 2-level downward
adjustment for acceptance of responsibility, provided that the defendant has demonstrated
a genuine acceptance of responsibility for her actions. (USSG 3E1.1(a)) If the total
offense level is 16 or greater, the United States further agrees to move for an additional 1-
level downward adjustment for timely notifying the United States of defendant’s
intention to enter a guilty plea, thus permitting the Court and the United States to allocate
their resources efficiently. (USSG § 3E1.1(b))

15. Both parties acknowledge that neither the Probation Office nor the Court
are bound by the agreement of the parties as to the Sentencing Guidelines, and that the
Court may impose a sentence anywhere within the applicable Sentencing Guidelines
range, and that the Court may depart or vary upward or downward from that range if the
Court, on the record, indicates what factors exist that were not contemplated by the

Sentencing Guidelines Commission which justify the upward or downward departure, or

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what sentencing factors within 18 U.S.C. § 3553(a) justify an upward or downward
variance from the Sentencing Guideline range. Both parties reserve the right to object to
any departure or variance from the applicable Sentencing Guideline range proposed by
the Court on its own motion.

16. Inclusion of the parties’ expectations as to the applicable Sentencing
Guidelines in this Plea Agreement is not a guarantee to the Defendant that those
Sentencing Guidelines will, in fact, be included within the Pre-Sentence Investigation
Report (“PSR”) or be found to apply by the sentencing Court at the sentencing hearing.
The PSR will include a Sentencing Guidelines calculation. Both parties’ will have an
opportunity to object to the Sentencing Guidelines calculations contained within the PSR.
The inclusion of Sentencing Guidelines within this Plea Agreement does not preclude
either party from objecting to any of the Sentencing Guidelines contained within the PSR,
nor does such inclusion prevent either party from advocating for or against application of
other Sentencing Guidelines contained within the PSR that are not included within this
Plea Agreement.

Inclusion of any upward or downward adjustment not contained within this Plea
Agreement in the sentencing court’s determination of the sentencing guideline range at
the sentencing hearing does not entitle Defendant a right to appeal beyond that provided

within the paragraph identified as “Appeal Waiver” below.

 
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17. At the time of sentencing, the United States will:

(a) | recommend a sentence of imprisonment within the Guideline
sentencing range calculated by the Court at the sentencing hearing;

(b) | recommend the defendant be ordered to serve a3 year term of
supervised release;

(c) recommend the defendant be ordered to pay the applicable special
assessment; and,

(d) move to dismiss the remaining count of the Indictment against the
Defendant.

18. The Defendant may recommend any sentence, including any departure or
variance from the Sentencing Guideline range, that defendant believes is appropriate,
provided Defendant notifies the United States of Defendant’s intent to do so within the
time frame for filing a sentencing memorandum pursuant to local court rule 32.1(B) (5
business days prior to sentencing hearing).

19. The defendant acknowledges and understands that if defendant:

(a) violates any term of this Plea Agreement,
(b) engages in any further criminal activity regardless of jurisdiction,

severity or whether a conviction results from the charges,

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(c)

(d)

(e)
(f)

violates any term of defendant’s conditions of release regardless of
whether a petition is filed or of the ultimate disposition of any
petition that is filed,

has, after being charged with the offense(s) in this case, provided
false information to any federal, state or local law enforcement
officer or any state or federal probation/pre-trial services officer,
including any statements made in any proffer interview(s) in
connection with this case, either prior to entry into this plea
agreement or at any time after entry into this plea agreement,
engages in any form of obstruction of justice, or

fails to appear for the change of plea hearing, sentencing hearing, or

any other hearing in this matter,

this Plea Agreement shall become null and void, in whole or in part, at the discretion of

the United States, and the defendant will face the following consequences: (1) all

testimony and other information he has provided at any time to attorneys, employees, or

law enforcement officers of the government, to the Court, or to the federal grand jury,

may and will be used against him in any prosecution or proceeding; (2) the United States

will be entitled to reinstate previously dismissed charges and/or pursue additional charges

against the defendant and to use any information obtained directly or indirectly from the

defendant in those additional prosecutions; and (3) the United States will be released

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from any obligations, agreements, or restrictions imposed upon it under this Plea
Agreement, including but not limited to its agreement to recommend a certain sentence in
the case.

20. The defendant acknowledges that defendant has read each of the provisions
of this entire Plea Agreement, with the assistance of counsel, and understands its
provisions. The defendant and defendant’s attorney have discussed the case and the
defendant’s Constitutional and other rights, including, but not limited to, defendant’s
plea-statement rights under Rule 410 of the Federal Rules of Evidence and Rule 1 1(f) of
the Federal Rules of Criminal Procedure.

21. The defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth in this
agreement, to induce the defendant to plead guilty.

22. It is understood by the parties that the sentencing judge is neither a party to
nor bound by this agreement and is free to impose the maximum penalties provided by
law.

23. Appeal Waiver: Defendant waives defendant’s right to appeal defendant's
conviction and the Court’s entry of judgment against defendant, including an appeal of
any motions, defenses, probable cause determinations, and objections which defendant
has asserted in this case. The defendant also waives any right to appeal defendant’s

sentence under 18 U.S.C. § 3742(a) as recognized and permitted by United States v.
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Andis, 333 F.3d 886 (8th Cir. 2003). Expressly excluded from this waiver of appeal is
the following: (1) the defendant’s right to appeal any sentence imposed which is greater
than the upper limit of the sentencing guideline range determined by the sentencing court
at the sentencing hearing.

The defendant agrees to waive any right to contest defendant’s conviction and
sentence in any post-conviction proceeding pursuant to 28 U.S.C. § 2255 with the
exception of any claim of ineffective assistance of counsel and any claim pursuant to 28
U.S.C. § 2255, {6(3) premised on a right newly recognized by the United States Supreme
Court.

24. The defendant understands that neither the agreements as to the Sentencing
Guidelines nor the recommendations concerning the sentence made by the parties are
binding on the Court or the Probation and Pretrial Services Office. The defendant further
understands that refusal by the Court to accept any or all such agreements or
recommendations does not give the defendant a right to withdraw defendant’s guilty plea.

25. The United States will file a Supplement in this case, as is routinely done in
every case, even though there may or may not be any additional terms. Defendant and
Defendant’s attorney acknowledge that no threats, promises, or representations exist
beyond the terms of this plea agreement.

26. The undersigned Assistant United States Attorney and attorney for the

defendant agree to abide by the provisions of Rule 32.1CR of the Local Rules for the
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United States District Court for the District of North Dakota. Pursuant to
Rule 32.1CR(B)(3), the undersigned attorneys acknowledge their obligation to attempt,
using good-faith efforts, to resolve any disputes regarding the Presentence Investigation

Report (PSIR) through a presentence conference and other informal procedures.

 

 

AGREED:
CHRISTOPHER C. MYERS
United States Attorney
Dated: (6. O\« BE By: Cea YORK
Rick L. Volk

Assistant United States Attorney

Dated: (5~ 9O-| % Octhonw Boat S

Anthony LamarBankston
Defendant

Dated: G [le L/ aa Fa

Luke T. Heck <<
Attorney for Defendant

 

 

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